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		OSCN Found Document:STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SHYERS

					

				
  



				
					
					
						
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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SHYERS2022 OK 28Case Number: SCBD-7212Decided: 03/21/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 28, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 




STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,v.PHILLIP JOHN SHYERS, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rules 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Docket Sheet, Information, Plea of Guilty, District Attorney Supervision Order and Deferment in the matter of State of Oklahoma v. Phillip John Shyers in case CM-2020-122 in Noble County, Oklahoma. Following plea of guilty on all counts in the case, the court deferred sentencing for 2 years for the following: Actual Physical Control, a misdemeanor; Possession of Controlled Dangerous Substance (Marijuana), a misdemeanor; Possession of Controlled Dangerous Substance (Cocaine), a misdemeanor; and Possession of Drug Paraphernalia, a misdemeanor.
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that Phillip John Shyers is immediately suspended from the practice of law.1 Phillip John Shyers is directed to show cause, if any, no later than April 4, 2022, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until April 18, 2022, to respond.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Phillip John Shyers has until May 3, 2022, to show cause in writing why a final order of discipline should not be made. The written return of the lawyer shall be verified and expressly state whether a hearing is desired. The lawyer may in the interest of explaining his conduct or by way of mitigating the discipline to be imposed upon him, submit a brief and/or any evidence tending to mitigate the severity of discipline. The OBA has until May 18, 2022, to respond by submission of a brief and/or any evidence supporting the recommendation of discipline.
¶4 DONE BY ORDER OF THE SUPREME COURT in conference on March 21, 2022.
/S/CHIEF JUSTICE 
CONCUR: Darby, C.J., Kane, V.C.J., Kauger, Winchester, Combs, Gurich, Rowe and Kuehn, JJ.
DISSENT: Edmondson, J.
&nbsp;
FOOTNOTES
1 Mr. Shyers was suspended for nonpayment of 2021 dues in SCBD 7059 and Mr. Shyers remains suspended for nonpayment as of the date of this Order. See 2021 OK 36.




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